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                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION

 IN RE: NATIONAL PRESCRIPTION                 )     CASE NO. 1:17-MD-2804
 OPIATE LITIGATION                            )
                                              )     JUDGE DAN A. POLSTER
                                              )
                                              )     MAGISTRATE JUDGE DAVID A. RUIZ
                                              )
                                              )
                                              )     NOTICE OF SERVICE


        Please take notice that on July 2, 2018, the U.S. Drug Enforcement Administration

(DEA) disclosed, pursuant to the Protective Order, an encrypted CD containing the ARCOS

export of Morphine, Oxymorphone, Tapentadol, and Buprenorphine for the period of January 1,

2006 through December 31, 2014.

        The encrypted CD was served upon the Court via hand-delivery and upon the following

counsel via federal express:

Paul T. Farrell, Jr., Esq.
Greene Ketchum, LLP
419 Eleventh Street
Huntington, WV 25701

Mark S. Cheffo, Esq.
Quinn, Emanuel, Urquhart & Sullivan, LLP
51 Madison Avenue, 22nd Floor
New York, NY 10010

Enu Mainigi, Esq.
Williams & Connolly LLP
725 Twelfth Street NW
Washington, DC 20005
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                                 Respectfully submitted,

                                 DAVID A. SIERLEJA
                                 First Assistant United States Attorney
                                 Attorney for the United States
                                 Acting Under Authority Conferred by 28 U.S.C. § 515


                           By:   /s/ James R. Bennett II
                                 JAMES R. BENNETT II (OH #0071663)
                                 KAREN E. SWANSON HAAN (OH #0082518)
                                 Assistant U.S. Attorneys
                                 Carl B. Stokes U.S. Courthouse
                                 801 West Superior Avenue, Suite 400
                                 Cleveland, Ohio 44113-1852
                                 Telephone: (216) 622-3600
                                 Facsimile: (216) 522-4982
                                 E-mail: James.Bennett4@usdoj.gov
                                 E-mail: Karen.Swanson.Haan@usdoj.gov



                                 ALEXANDER K. HAAS
                                 Special Counsel to the Assistant AG, Civil Division
                                 ALICE SHIH LACOUR
                                 ERIC J. SOSKIN
                                 Counsel to the Assistant AG, Civil Division
                                 United States Department of Justice
                                 950 Pennsylvania Ave., NW
                                 Washington, DC 20530
                                 (202) 353-8679 (Haas)
                                 (202) 514-3180 (LaCour)
                                 (202) 514-1500 (Soskin)
                                 E-mail: alex.haas@usdoj.gov
                                 E-mail: alice.s.lacour@usdoj.gov
                                 E-mail: eric.soskin@usdoj.gov

                                 Attorneys for United States Department of Justice,
                                 Drug Enforcement Administration




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                                   CERTIFICATE OF SERVICE

       I certify that, on July 2, 2018, I filed a copy of the foregoing electronically. The Court’s

electronic filing system will send notice of this filing to all parties. Parties may access this filing

through the Court’s system.


                                               /s/ James R. Bennett II
                                               JAMES R. BENNETT II
                                               Assistant U.S. Attorney




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